                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:18-CV-095-RJC-DCK

 RAYMOND BENITEZ,                                   )
                                                    )
                   Plaintiff,                       )
                                                    )
    v.                                              )      ORDER
                                                    )
 THE CHARLOTTE-MECKLENBURG                          )
 HOSPITAL AUTHORITY,                                )
                                                    )
                   Defendant.                       )
                                                    )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice And Affidavit” (Document No. 3) filed by Adam S. Hocutt, concerning R. Stephen Berry on

March 1, 2018. Mr. R. Stephen Berry seeks to appear as counsel pro hac vice for Plaintiff

Raymond Benitez. Upon review and consideration of the motion, which was accompanied by

submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice And Affidavit” (Document No. 3) is GRANTED. Mr. R. Stephen

Berry is hereby admitted pro hac vice to represent Plaintiff Raymond Benitez.

         SO ORDERED.


                                       Signed: March 1, 2018




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